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 Counsel for Gregory Greene and Joseph Lack

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                            § Chapter 15
                                                   §
 MtGox Co., Ltd. (a/k/a MtGox KK)                  § Case No. 14-31229-sgj-15
                                                   §
          Debtor in a Foreign Proceeding           §
                                                   §

  NOTICE OF HEARING ON (A) CREDITORS GREGORY GREENE AND JOSEPH
    LACK’S MOTION FOR TERMINATION OF PROVISIONAL RELIEF AND (B)
 COINLAB, INC’S (I) JOINDER AND (II) MOTION SEEKING COMPARABLE RELIEF

          PLEASE TAKE NOTICE that a hearing on Creditors Gregory Greene and Joseph

 Lack’s Motion for Termination of Provisional Relief [Docket No. 37], and Coinlab, Inc.’s (I)

 Joinder in Creditors Gregory Greene and Joseph Lack’s (B) Motion for Termination of

 provisional Relief; and (II) Motion Seeking Comparable Relief [Docket No. 56] has been set for

 Tuesday, May 6, 2014 at 9:30 a.m. before the Honorable Stacey G. Jernigan, United States

 Bankruptcy Court, 1100 Commerce Street, Room 1428, Courtroom #1, Dallas, Texas 75242.




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 Dated: April 3, 2014

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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on April 3, 2014 a true and correct copy of the
 foregoing document was served (i) upon all parties on the attached Service List in the manner
 indicated, and (ii) via e-mail upon the parties that receive electronic notice in this case pursuant
 to the Court’s ECF filing system:


                                                      /s/ Robin E. Phelan
                                                      Robin E. Phelan




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